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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA




                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MONTANA

                                  MISSOULA DIVISION

UNITED STATES OF AMERICA,                      CR 08-41-M-DWM

            Plaintiff,

     vs.                                       OFFER OF PROOF

WILLIAM DALE NEWHOFF, JR.,

            Defendant.



       As counsel for the United States will be out of the office and unavailable from

October 21-31, this offer of proof is being filed in case the defendant signs the

proposed plea agreement that is outstanding in this case.

                                      THE CHARGE

       The defendant, WILLIAM DALE NEWHOFF, JR., is charged in the indictment

with felon in possession of a firearm, in violation of 18 U.S.C. § 922(g)(1) (Count I); and
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possession of a stolen firearm, in violation of 18 U.S.C. § 922(j) (Count II), on or about

and between July 4 and July 6, 2007, in Missoula County, Montana.

                                   PLEA AGREEMENT

       Newhoff will plead guilty to count I of the indictment.

                                        ELEMENTS

       In order for the defendant to be found guilty of the charge in count I of the

indictment, the United States must prove each of the following elements beyond a

reasonable doubt:

       C       First, the defendant knowingly possessed one or more firearms;

       C       Second, the firearms were shipped or transported from one state to

               another or from a foreign country to the United States; and

       C       Third, at the time the defendant possessed the firearms, the defendant

               had been convicted of a crime punishable by a term of imprisonment

               exceeding one year.

                                ANTICIPATED EVIDENCE

       If this case was tried in United States District Court, the United States would

present the following evidence:

       1.      About July 4, 2007, William Dale Newhoff, Jr. and another individual

               burglarized a Missoula area residence. Newhoff took a Bryco Arms .22

               caliber pistol among other household items. Newhoff attempted to sell the

               stolen pistol on July 5 and 6, 2007, in Missoula, Montana. Numerous

               associates of Newhoff would testify regarding his possession of the pistol

               and attempts to sell the pistol on July 5 and 6.
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2.    On July 6, 2007, Newhoff was pulled over for speeding. During a consent

      search of a purse belonging to another occupant of the vehicle, the pistol

      was located. Newhoff passed the pistol to the other occupant and told her

      to hide it in her purse. At the time, Newhoff was a convicted felon was

      under Montana Probation and Parole felony supervision.

3.    Newhoff’s felony convictions were confirmed through a certified copy of a

      Judgment dated and filed June 6, 2002, from the Montana Fourth Judicial

      District Court, Missoula County, for William Dale Newhoff, in case number

      DC-01-335 for two counts of felony theft and one count of felony forgery.

      Officers from Montana Probation and Parole would identify Newhoff as a

      person under felony supervision. They would also testify that Newhoff

      previously signed his conditions of felony supervision forms and the

      firearms regulation form provided by their office.

4.    A special agent with the Bureau of Alcohol, Tobacco, Firearms and

      Explosives would testify that the firearm in this case was manufactured

      outside the State of Montana; therefore, the firearm traveled in interstate

      or foreign commerce prior to the defendant’s possession of it. The firearm

      in this case is a Bryco Arms .22 caliber pistol, serial number 692060.

Respectfully submitted this 20th day of October, 2008.

                                  WILLIAM W. MERCER
                                  United States Attorney

                                  /s/ Paulette L. Stewart
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                                  Assistant U.S. Attorney
                                  United States Attorney’s Office
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